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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

  ELIZABETH SINES et al.,                      )       Civil Action No. 3:17-cv-00072
       Plaintiffs,                             )
                                               )
  v.                                           )       ORDER
                                               )
  JASON KESSLER et al.,                        )
       Defendants.                             )       By:    Joel C. Hoppe
                                               )              United States Magistrate Judge

         This matter is before the Court on certain Defendants’ motion to sanction non-party

  witness Wes Bellamy of Charlottesville, Virginia, for failing to obey a properly served subpoena

  to appear by videoconference and testify at a deposition on July 21, 2020, and to compel Mr.

  Bellamy to appear for his rescheduled deposition on October 26, 2020. ECF Nos. 817, 891. Mr.

  Bellamy did not respond. Defendants’ requests to be reimbursed for their reasonable fees and

  expenses caused by Mr. Bellamy’s failure to appear for the July 21 deposition, and for a court

  order compelling his appearance at the October 26 deposition are hereby GRANTED.

         Mr. Bellamy is hereby ORDERED to appear by videoconference for a deposition upon

  oral examination by counsel for Defendants Jason Kessler, Nathan Damigo, Matthew Parrot,

  Identity Evropa, and Traditionalist Workers Party in this matter at 9:30 a.m. ET on Monday,

  October 26, 2020, as more fully described in the attached Notice, which is sealed. ECF No. 891.

  Defendants’ counsel shall cause a copy of this Order and the attached Notice, along with their

  contact information and instructions for accessing the videoconference, to be served on Mr.

  Bellamy in accordance with Rule 45(b)(1). The Court expects Mr. Bellamy to appear for his

  deposition on October 26, 2020, and to participate in good faith as required by the Federal Rules

  of Civil Procedure. Mr. Bellamy is hereby warned that his failure to comply with this Order

  may result in him being held in contempt of court. Fed. R. Civ. P. 37(b)(1), 45(g).

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        All other relief requested in Defendants’ motion is DENIED.

        It is so ORDERED.

        The Clerk shall send a copy of this Order to the parties.

                                                      ENTER: October 9, 2020



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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